               Case 1:14-cr-00207-KJM Document 52 Filed 03/18/16 Page 1 of 2

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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00207-AWI-BAM-1

12                                 Plaintiff,             FINAL ORDER OF FORFEITURE

13                           v.

14   JUAN CARLOS REYES,

15                                 Defendant.

16

17          WHEREAS, on August 13, 2015, the Court entered a Preliminary Order of Forfeiture, pursuant

18 to the provisions of 18 U.S.C. ' 924(d) and 28 U.S.C. ' 2461(c), based upon the plea agreement entered

19 into between plaintiff and defendant Juan Carlos Reyes, in the following property:

20                  a. One Hi Standard .22 caliber revolver, Model Double Nine, Serial Number

21                      1223088 W104 and any ammunition seized.

22          AND WHEREAS, beginning on August 29, 2015, for at least 30 consecutive days, the United

23 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture

24 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

25 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

26 validity of their alleged legal interest in the forfeited property;
27          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

28 property and the time for any person or entity to file a claim has expired.

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                 Case 1:14-cr-00207-KJM Document 52 Filed 03/18/16 Page 2 of 2

 1          Accordingly, it is hereby ORDERED and ADJUDGED:

 2          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

 3 right, title, and interest in the above-listed property pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §

 4 2461(c), to be disposed of according to law, including all right, title, and interest of Juan Carlos Reyes.

 5          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

 6 United States of America.

 7          3.      The Federal Bureau of Investigation shall maintain custody of and control over the

 8 subject property until it is disposed of according to law.

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     IT IS SO ORDERED.
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11 Dated: March 18, 2016
                                                  SENIOR DISTRICT JUDGE
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